Case 2:05-cr-20217-.]DB Document 3 Filed 06/22/05 Page 1 of 2 Page|D 5

UNITED sTATEs DlsTRICT CoURT w - 477/fw
wEsTERN DIsTRICT oF TENNESSEE
Western Division §§ JUF»Y 22 Ai‘l 83 08
§::t§...i §i`. i_`.~i Tl:iCL.iO
cu ;,1::3. DIST. c"r.
UNITED sTATEs oF AMERICA §§ w.n.. cr in warrants
-vs- Case No. 2:05cr20217-B

LONNIE SMITH

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
FRIDAY, JUNE 24, 2005 at 2:30 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.

-_~_»-.__

Date: June 21, 2005 l

 

\/

TU'M. PHAM
UNITED sTATEs MAGISTRATB JUDGE

 

‘If not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3 l42(f) are present Subsection (l ) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ofticer's own motion, if there is a serious risk that the
defendant (a) will ilee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8¢'85) Order of Temporary Deleniion

il
Thls document entered on the docket she

68
with ama 55 and/or 320:») Fach on \

SDISTRIC COURT - WESRNTE D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-20217 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Stephanie Zander Johnson

U S ATTORNEY'S OFFICE
167 N. Main St

Ste 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

